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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,

                -against-                                         S1 23 Cr. 118 (AT)
 YANPING WANG, a/k/a “Yvette,”                                    DECLARATION

                        Defendant.




       I, Elizabeth Hanft, pursuant to 28 U.S.C. § 1746, declare as follows:

       1.      I am an Assistant United States Attorney in the Office of the United States Attorney

for the Southern District of New York (the “Office”).

       2.      From approximately November 2017 to approximately January 2020, I was

assigned to the Office’s Terrorism and International Narcotics (“TIN”) Unit, which is currently

known as the Office’s National Security and International Narcotics Unit. I am presently the Co-

Chief of the Office’s General Crimes Unit.

       3.      While in TIN, I, along with AUSA Kimberly Ravener, was assigned to an

investigation involving Ho Wan Kwok, a/k/a “Miles Guo” (“Guo”), which began in or about

September 2019 (the “TIN Matter”).

       4.      On September 19, 2019, Emil Bove (“Bove”) and Shawn Crowley (“Crowley”)

were appointed Co-Chiefs of TIN and, in that capacity, were my direct supervisors. As TIN Co-

Chiefs, Bove and Crowley were responsible for overseeing all matters in TIN, unless they were

specifically recused.

       5.




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        6.      From approximately mid-September 2019 through October 4, 2019, AUSA

Ravener and I drafted the search warrant affidavits and warrants (the “Warrants”). I believe that

Crowley and/or another supervisor reviewed the Warrants before they were submitted to the court.

       7.      The FBI recovered over a hundred devices and a significantly large volume of data

as a result of the Warrants.

       8.      Bove was on trial for periods in September and October 2019. After Bove’s trial

ended in approximately mid-October 2019, Bove and Crowley supervised the TIN Matter. It was

my general practice to update supervisors concerning my cases, which would include the TIN

Matter. As is common in the Office, those updates were often oral. It was the practice of Crowley

and Bove to join their Co-Chief into calls and/or meetings about cases they supervised.

       9.      After the Warrants were executed, the TIN Matter remained active. Over the next

several months, AUSA Ravener’s and my work on the TIN Matter, along with the work of the FBI

agents, focused on analyzing the electronic devices that were seized during the execution of the

Warrants.

                                                                       . In the weeks after the

Warrants were executed, and throughout my involvement in the TIN Matter, the FBI agents and

analysts provided periodic updates to me and/or AUSA Ravener on the review of search warrant

materials or other significant events in the investigation. 1



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  During the execution of the Warrants, and until approximately December 2019, I was frequently
working at an offsite location on another case without regular access to my office email and
cellphone. Accordingly, I had fewer conversations with supervisors than was typical for me during
this period. When I was out of the Office, AUSA Ravener assumed most of the responsibilities
concerning the TIN Matter.
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       10.     Aside from my practice of generally updating supervisors concerning my cases, I

specifically recall at least one telephone conversation about the TIN Matter that included Bove,

Crowley, and AUSA Ravener. During that call, AUSA Ravener and I explained that there were

some suggestions that



                                   Accordingly, Crowley informed us that she was recused from

the TIN Matter, and we should consult only with Bove going forward. I do not recall if Bove was

on the line at the time and we continued the conversation with him after Crowley disconnected, or

if we terminated the call with Crowley and then called Bove to discuss the issue. Nonetheless,

AUSA Ravener and I informed Bove of the following regarding the TIN Matter:




                                                                                       We asked

for Bove’s advice on how to contend with these issues, including

             . I recall that Bove provided me and AUSA Ravener with guidance on these topics,

but I do not presently recall what that guidance was.

       11.     On or about July 25, 2023, the AUSAs handling the CFU Matter contacted me

regarding Bove’s supervision of the TIN Matter. The AUSAs later asked me to search my emails



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for communications with Bove regarding the TIN Matter, which I did to the extent I was able.

Based on that review, I located emails, including the following:

               a.      On October 21, 2019, AUSA Ravener sent me an email concerning a

teleconference (“T/C”) she had with one of the FBI case agents on the TIN Matter. In that email,

AUSA Ravener updated me on the topics she discussed with the agent. (I understand that this

email is marked as Government Exhibit G.) In that email, AUSA Ravener also informed me that

she “spoke to Emil about the status of the [TIN] matter and next steps.” Based on my review of

this email, I believe this email indicates that, following the execution of the search warrants, Bove

was updated on the TIN Matter and provided advice and guidance to me and AUSA Ravener

concerning how to proceed in this investigation.

               b.      On October 31, 2019, Bove sent an email to me and AUSA Ravener titled

“Guo,” requesting the internal case tracking number for the TIN Matter. (I understand that this

email was attached to the Government’s Motion as Exhibit A.) Based on my experience in the

Office, I am aware that, at that time, the TIN Co-Chiefs drafted monthly updates regarding certain

TIN cases for the Office’s management. As a general practice, chiefs in the Office request

information on the status of certain cases—including, for example, significant events or new

developments—to assist in their drafting of such updates, which updates include an internal case

tracking number for each case. Based on my familiarity with the Office’s practice of monthly

updates and my review of this email, I believe that Bove requested the TIN Matter internal tracking

number for the purpose of drafting such a monthly update regarding the TIN Matter.

               c.      On January 20, 2022, I received an email from the then-Associate U.S.

Attorney, John McEnany. (I understand that this email was attached to the Government’s Motion

as Exhibit D.) I recall that Bove—who had left the Office by this time—had inquired with



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McEnany whether it would present a conflict for Bove to represent Mei Guo, who is Guo’s

daughter. On that day, I spoke with McEnany, provided him with information about the TIN

Matter, and confirmed that Bove had supervised the TIN Matter. Thereafter, McEnany advised

me and AUSA Ravener that he had spoken with Bove and that Bove had agreed not to represent

Mei Guo on the case.

        12.     In approximately January 2020, I was assigned to another unit in the Office and left

the TIN unit. Thereafter, although I continued to work on the TIN Matter, my work on the TIN

Matter was much more limited. I believe Bove continued to supervise the TIN Matter until he left

the Office in December 2021.

        13.     Other than what is set forth herein, I do not at this time have a specific recollection

of oral conversations with Bove about the TIN Matter.

        14.     I declare under penalty of perjury that the information contained in this declaration

is true and correct.


Dated: New York, New York
       August 18, 2023

                                                   Respectfully submitted,


                                                      _________________________
                                                      Elizabeth Hanft
                                                      Assistant United States Attorney
                                                      Southern District of New York




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